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          IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
MICHELLE REICHENBACH
                            Civil Action No.
              Plaintiff,
    vs.                     4:11-cv-02034-JEJ

MONARCH RECOVERY
MANAGEMENT, INC.


                Defendant.
DAVID MANTZ
                                     Civil Action No.
                Plaintiff,
     vs.                             4:11-cv-02084-CCC

MONARCH RECOVERY
MANAGEMENT, INC.

                 Defendant.



            STIPULATION TO CONSOLIDATE ACTIONS

     It is hereby STIPULATED and AGREED that the two above-

captioned matters shall be consolidated as per the agreement of the

below-listed counsel. The case captioned as Michelle Reichenbach

v. Monarch Recovery Management, Inc. docket no. 4:11-cv-02034-

JEJ shall be the lead case for all purposes.
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LAW OFFICE OF TODD M.                   MARSHALL, DENNEHEY,
FRIEDMAN, P.C.                          WARNER, COLEMAN &
                                        GOGGIN, P.C.

By:   /s/ Cynthia Levin /27050    By:   /s/ Ronald M. Metcho /202807
      CYNTHIA LEVIN, ESQ.               RONALD M. METCHO, ESQ.
      1150 First Avenue, Ste. 501       1845 Walnut Street, 17th Floor
      King of Prussia, PA 19406         Philadelphia, PA 19146
      Attorney for Plaintiffs           Attorneys for Defendant
      Michelle Reichenbach and          Monarch Recovery
      David Mantz                       Management, Inc.
      Dated: February 17, 2012          Dated: February 17, 2012
